Case 2:06-cv-00535-ROS Document17-9 Filed 03/06/06

Flynn Files - Ultimate Warrior Interview Part I

Page 1 of 2

Page | of 5

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INTERVIEW WITH THE ULTIMATE WARRIOR -
PART 2 OF 4

You.can read part one of the series here.

FLYNN |: Let’s go to the WWF, There are a couple of matches that I want to talk about. You
got your first Intercontinental Title. It was an eight-second match. Was something weird
going on? :

WARRIOR| : It was a thirty-one second match, with the Honky Tonk Man at Madison
Square Garden for the Intercontinental Championship,

FLYNN |: But to sort of lay down for someone in thirty-one seconds, he didn’t take that the
wrong way? He was fine with it?

WARRIOR]: What are you, a mark? How old are you? (Laughs). Look, it was his job, and
even though I didn’t have, or haven't maintained relationships with any of the guys since
leaving the business, I had respectful, decent rapport with the guys when I worked with them.
Honky, Andre, Randy—we all did what we did, them for me and I for them because it was
good business to make money, get people to buy tickets. But, yeah, to answer your question
another way, there could be times between different talent, people who didn't get along
personally that it made for getting things done in the ring more difficult. I could tell you many
stories about that, more than you have time for...But with the power of TV you can get out of
or cover up anything talent would not do, refuse to do. For example, if Honky was of a mind
not to do what they wanted, they could have just kept him off TV, made a match for the
Intercontinental belt in some other way, put The Ultimate Warrior in that match, and put the
strap on him,

FLYNN | : Let's move on a bit to. 1990 and your winning of the WWF Championship belt.

WARRIOR| + My mateh against Hogan, that was... had a lot of great moments, but I

would probably say that was the pinnacle of my wrestling career and one of the best matches
of alltime. I'm proud of it, It was significant for, as I've said throughout the years, many
things.

One, I'd reached the goal I set for myself. Many people don't understand, many in the
industry just don’t want to hear it. But when I got in the business, I got in it to pursue success.
lf after a certain ammount of time that would not have happened, I sure as hell wasn't going to
stick with it just so 1 could be professional wrestler, like so many others in the business do.
And when | got in it, Hogan was the guy. The facts are I set a goal and achieved it. Did the
work, tumed the eyes of those who mattered, and made it happen. And like I'd done my whole
life up till then, once I had reached a goal, I began setting others. In some ways, having that
match with Hogan was anti-climatic., And I would say, now, after greater life experience and
looking back, that the way I was about setting new goals, having the confidence to and not
having any doubts I could achieve them, likely, underneath everything else that went on
between Vince and I, contributed somewhat to the fallouts we had,

That match was also very significant from this point: Hogan was the superstar and had been
for along time the only superstar. Doing the match the way it was done, having the big baby
faces face-off was a huge statement about how popular The Ultimate Warrior character was, I
mean, Hogan was popular, there was no doubt about that. In fact, buildupsto previous _
Wrestlemanias were done by taking one of Hogan's buddies and having that buddy stab him

http://flynnfiles.comv/blog/warrior/wamior2.htm

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DANIEL J. FLYNN

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06/24/2005
Case 2:06-cv-00535-ROS Document 17-9 Filed 03/06/06 Page 2 of 2

Flynn Files - Ultimate Warrior Interview Part I

in the back, turn the second hottest baby face heel. That's how they built Wrestlemanias. But
Ultimate Warrior was selling merchandise at the same pace or better than Hogan. If they'd
done that, turned The Ultimate Warrior heel, they'd have been cutting their awn wrists. So
they had to. do the match the way they did. I know on a deeper level what that meant and lam
proud of what I accomplished to make that happen. It meant something to beat Hogan then,

not later, like I told him when I came back in ‘98 to WCW. Beating him didn't mean anything
then.

FLYNN |: Were you and Hogan buddies?

ee : No. He's doing a whole other head trip. People like to misbelieve I'm on
one—please. When I was at WWF we didn’t really spend any time together, He did come out
to my place in Arizona one afternoon when we had a TV taping there, and we rode in a cara
few times to a few shows.

T don't know if anyone ever gets to know Terry [Hulk Hogan]. He may not even know himself,
he's been working himself for so long, In '98 he invited me down to his place in Florida and,
weil, let me just say here, to save expanded thought for my book, he was very, very shallow
and was not mature in ways that a person his age with his life experiences should be, It was,
especially since I had matured in some really strong and empowering ways, very
disappointing, disheartening,

FLYNN |: I guess a question I have is that a lot of people talk about the politics involved
between Hogan pinning Andre the Giant. What seems to mea bit more fascinating is the
politics involved for someone to pin Hogan cleanly.

WARRI on! : You hear a lot about politics this and politics that these days. Even though I

n't follow what's going on, 1 do have a sense that politics may play a larger role today, In
fact, when I went ta WCW, there were what you could call politics, plenty of it, but I would
call it what it really is: Backstabbing, conniving, being a scumbag to wease! whatever you
didn’t have the talent to get. There are many things that led to the demise of WCW, but it was
plenty of politics as I describe them that sped it along. I can guarantee you that, But when I
was at WWE, I worked bard, performed, and made my spot. It's just that simple. I didn't
know any differently to think there was any other way to make it. Ifyou are good enough,
talent will win out over favoritism and politics. It did then anyway.

I would say that to use politics, as you call it, if there were any, Andre doing what he did for
Hogan carries less political weight than what Hogan did for me. In other words, Hogan had to
concede more than Andre. Even Hogan would have to say this or else he'd be admitting Andre
held greater political stature than him, and God knows Hogan, the man who has made his
whole existence a work, would never admit that (laughs). Andre was at the end of his career.
He was happy and wealthy...I had a great run with Andre and became good friends with him,
Teally. I would even make the case Andre did more for the Ultimate Warrior than he ever did
for Hogan. And that's saying alot because Andre did not ever do what he did not want to, Ask
Randy Savage.

FLYNN | : When you beat him in 1990, how did that happen then?

Weil, again, Ultimate Warrior was a strong baby face in his own right and was competitive
with Hogan on many fronts, pure and simple, I was just enjoying reaping this incredible
success I had never had before. The money was great. 1 was traveling all over, training at
gyms all over the place, doing—1 would just say that at that time Titan [WWF] took really
great care of me. I was seeing on a nightly basis how over the Ultimate Warrior was getting,
and hearing about it through the office's grapevine. From the beginning a match between
Hogan and I was never discussed in terms of me turning heel. It was always from the very
start going to be baby face versus baby face. From there it was easy to build up a challenge
between our two distinct legions of fans, his Hulkamaniacs, and my Warriors. Vince and
Hogan did play some head games for the few months leading up to the match about what the
finish would be, who would go over. I think they knew from the start what they were going to
do, but wanted to test me to see how I would react. After all, it was.a big thing to do. Bottom
line is 1 knew they were going to do what they decided, and I would go along with it. Like I
said, I was just beginning to enjoy the success of reaching a great part of my goal and was

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Page 2 of 5

06/24/2005
